     Case 3:16-cv-03495-D Document 20 Filed 12/29/17   Page 1 of 32 PageID 277


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
                       _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                         Civil Action No. 3:16-CV-3495-D

JEFFERSON B. SESSIONS, et al.,

        Defendants.

 DEFENDANTS’ OBJECTIONS TO THE MAGISTRATE JUDGE’S FINDINGS,
     CONCLUSIONS, AND RECOMMENDATION ON DEFENDANTS’
   MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT




                                           ERIN NEALY COX
                                           United States Attorney

                                           Brian W. Stoltz
                                           Assistant United States Attorney
                                           Texas Bar No. 24060668
                                           1100 Commerce Street, Third Floor
                                           Dallas, Texas 75242-1699
                                           Telephone: 214-659-8626
                                           Facsimile: 214-659-8807
                                           brian.stoltz@usdoj.gov

                                           Attorneys for Defendants
       Case 3:16-cv-03495-D Document 20 Filed 12/29/17                                       Page 2 of 32 PageID 278


                                                     Table of Contents

I.        Introduction .............................................................................................................. 1 

II.       Background............................................................................................................... 4 

          A.        The government’s longstanding authority to conduct border
                    searches. ........................................................................................................ 4 

          B.        Anibowei’s allegations and request for declaratory and injunctive
                    relief............................................................................................................... 4 

          C.        The defendants’ motion to dismiss the first amended complaint. ................. 6 

III.      Legal Standards ........................................................................................................ 9 

IV.       Argument and Authorities ........................................................................................ 9 

          A.        The Court should decline to adopt the Recommendation’s standing
                    analysis, and instead should rule that Anibowei has not established
                    standing to obtain the purely equitable relief he seeks. .............................. 10 

                    1.        Anibowei’s vague averments of possible future injury do not
                              establish any real and immediate threat of repeated injury in
                              the future. ......................................................................................... 10 

                    2.        A claimed injury from the retention of information does not
                              provide standing. .............................................................................. 13 

                    3.        Prudential reasons also support a dismissal for lack of
                              standing. ........................................................................................... 14 

                    4.        The Recommendation’s reliance on Janfeshan is misplaced........... 16 

          B.        If the case is not dismissed for lack of standing, it is necessary to
                    reach the Rule 12(b)(6) arguments that the Recommendation
                    identified in footnote 9 but did not address, and the Court should
                    dismiss the first amended complaint as to all defendants on the basis
                    of these arguments. ...................................................................................... 17 

                    1.        Anibowei fails to state any claim for relief under the Fourth
                              Amendment (first cause of action) because reasonable
                              suspicion was not required in order to inspect Anibowei’s cell
                              phone at the border. .......................................................................... 18 



                                                                    i
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                                     Page 3 of 32 PageID 279


                2.        Anibowei fails to state any claim for relief under the First
                          Amendment (second cause of action) because there is no First
                          Amendment exception to the border-search doctrine. ..................... 22 

      C.        The five defendants whose agencies are not alleged to have had any
                involvement in the search of Anibowei’s cell phone should be
                dismissed from the case in its entirety (including with respect to
                official-capacity claims). ............................................................................. 23 

V.    Conclusion .............................................................................................................. 25 




                                                              ii
   Case 3:16-cv-03495-D Document 20 Filed 12/29/17                                  Page 4 of 32 PageID 280


                                               Table of Authorities

                                                          Cases

Abidor v. Napolitano,
      990 F. Supp. 2d 260 (E.D.N.Y. 2013) ............................................ 12, 13, 15, 16, 17

Am. Civil Liberties Union v. Clapper,
      785 F.3d 787 (2d Cir. 2015) ............................................................................. 16, 17

Bauer v. Texas,
      341 F.3d 352 (5th Cir. 2003) ............................................................................ 11, 12

Bell Atl. Corp. v. Twombly,
       550 U.S. 544 (2007) ............................................................................................... 25

Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics,
      403 U.S. 388 (1971) ................................................................................................. 2

City of Los Angeles v. Lyons,
       461 U.S. 95 (1983) ........................................................................................... 11, 12

Eccles v. Peoples Bank of Lakewood Vill.,
       333 U.S. 426 (1948) ......................................................................................... 14, 15

Escamilla v. City of Dallas,
     No. 3:03-CV-848-K, 2004 WL 1932867 (N.D. Tex. Aug. 30, 2004).................... 25

Herring v. United States,
      555 U.S. 135 (2009) ............................................................................................... 14

Janfeshan v. U.S. Customs & Border Protection,
      No. 16-CV-6915, 2017 WL 3972461 (E.D.N.Y. Aug. 21, 2017) .................... 16, 17

Kentucky v. Graham,
      473 U.S. 159 (1985) ................................................................................................. 7

Lujan v. Defenders of Wildlife,
      504 U.S. 555 (1992) ................................................................................... 10, 13, 25

Mauro v. Freeland,
     735 F. Supp. 2d 607 (S.D. Tex. 2009)...................................................................... 7

New York v. P.J. Video, Inc.,
     475 U.S. 868 (1986) ............................................................................................... 22


                                                             iii
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                                      Page 5 of 32 PageID 281


Pa. Bd. of Prob. & Parole v. Scott,
      524 U.S. 357 (1998) ......................................................................................... 13, 14

Raines v. Byrd,
      521 U.S. 811 (1997) ............................................................................................... 10

United States v. Ickes,
      393 F.3d 501 (4th Cir. 2005) ...................................................................... 12, 22, 23

United States v. Flores-Montano,
      541 U.S. 149 (2004) ......................................................................... 4, 18, 19, 20, 21

United States v. Kelly,
      302 F.3d 291 (5th Cir. 2002) .................................................................................. 21

United States v. McCauley,
      420 F. App’x 400 (5th Cir. 2011) ..................................................................... 20, 21

United States v. McCauley,
      563 F. Supp. 2d 672 (W.D. Tex. 2008) .................................................................. 20

United States v. Montoya de Hernandez,
      473 U.S. 531 (1985) ......................................................................................... 18, 19

United States v. Pickett,
      598 F.3d 231 (5th Cir. 2010) .................................................................................. 21

United States v. Ramsey,
      431 U.S. 606 (1977) ........................................................................................... 4, 18

United States v. Sandler,
      644 F.2d 1163 (5th Cir. 1981) .......................................................................... 19, 21

United States v. Thompson,
      53 F. Supp. 3d 919 (W.D. La. 2014) ................................................................ 20, 21

Valley Forge Christian College v. Americans United for Separation of
       Church & State, Inc., 454 U.S. 464 (1982) ............................................................ 10

                                          Statutes, Regulations, and Rules

6 U.S.C. § 211 ................................................................................................................... 19

8 U.S.C. § 1225 ................................................................................................................. 19



                                                                 iv
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                                      Page 6 of 32 PageID 282


8 U.S.C. § 1357 ................................................................................................................. 19

19 C.F.R. § 162.6 ............................................................................................................... 19

19 U.S.C. § 482 ................................................................................................................. 19

19 U.S.C. § 507 ................................................................................................................. 19

19 U.S.C. § 1461 ............................................................................................................... 19

19 U.S.C. § 1496 ............................................................................................................... 19

19 U.S.C. § 1581 ............................................................................................................... 19

19 U.S.C. § 1582 ............................................................................................................... 19

19 U.S.C. § 1589a .............................................................................................................. 19

19 U.S.C. § 1595a .............................................................................................................. 19

28 U.S.C. § 1343(a) ............................................................................................................. 6

28 U.S.C. § 1357 ................................................................................................................. 6

Fed. R. Civ. P. 72(b)(3) ....................................................................................................... 9

                                                     Other Authorities

10B Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,
     Federal Practice & Procedure § 2762 (3d ed. 1998) .............................................. 11




                                                                 v
   Case 3:16-cv-03495-D Document 20 Filed 12/29/17                   Page 7 of 32 PageID 283



                                       I.       Introduction

       This suit arises out of a border search of plaintiff George Anibowei’s cell phone

upon his return to the country from international travel. Anibowei claims that,

notwithstanding the government’s broad authority to conduct border searches as

enshrined in various statutes and as repeatedly recognized by the Supreme Court, the

inspection of his cell phone violated the Fourth and First Amendments. He has sued

eight government officials in their official capacities, seeking equitable relief.

       All eight defendants moved to dismiss on grounds that: (1) Anibowei lacks

standing, because he cannot show a likelihood that he will be subjected to a similar

search in the future as would be necessary to obtain equitable relief; and (2) the first

amended complaint fails to state any claim for relief under either the Fourth Amendment

(because, pursuant to the longstanding border-search doctrine, all people and things

attempting to cross the border are subject to inspection, questioning, and search) or the

First Amendment. In addition, a subset of five defendants also moved to dismiss on the

alternate ground that, even if a claim was stated, Anibowei’s allegations showed no

involvement by their specific agencies in the border search.

       The defendants’ motion was referred to the Magistrate Judge, who issued a

Findings, Conclusion, and Recommendation (the Recommendation). (Doc. 19.) The

Recommendation recommends: (1) denying the defendants’ motion insofar as dismissal

was sought due to a lack of standing (under either Rule 12(b)(1) for constitutional

standing or Rule 12(b)(6) for prudential standing); and (2) partially dismissing



Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 1
     Case 3:16-cv-03495-D Document 20 Filed 12/29/17                  Page 8 of 32 PageID 284


Anibowei’s claims under Rule 12(b)(6) to the extent they might be construed as Bivens1

claims asserted against the defendants in their individual capacities.2 (See Doc. 19.) The

Recommendation states in a footnote that the dismissal of any assumed Bivens claims

makes it unnecessary to address the defendants’ argument that Anibowei failed to state

any claim for relief with his allegations that the search of his cell phone violated the

Fourth and First Amendments. (Doc. 19 at 13 n.9.) Thus, the Recommendation appears

not to have made any recommendation concerning the portion of the defendants’ motion

that sought to dismiss the official-capacity claims against the defendants for equitable

relief, under Rule 12(b)(6), because no Fourth or First Amendment claim had been stated.

          The defendants now object to the Recommendation, for two principal reasons.

          First, the defendants’ standing arguments are meritorious, and this case should be

dismissed for lack of standing. The Recommendation found that Anibowei’s request to

have the government destroy or return any data seized from his cell phone was sufficient

to establish standing, but in a similar case that the Recommendation describes as the

“seminal case,” a similar allegation did not suffice to establish standing, and the Court

should so hold here as well.

          Second, even if it is assumed that Anibowei does have standing, the


1
    See Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 (1971).
2
 The Recommendation also recommends dismissing any claim under the Administrative Procedure Act
(APA). (See Doc. 19 at 14–15.) A provision of the APA is cited in the jurisdictional section of
Anibowei’s first amended complaint, but not otherwise discussed in that pleading, and the defendants did
not understand Anibowei to be attempting to assert a separate APA claim. However, the defendants do
believe that any separate APA claim would be subject to dismissal for the reason given in the
Recommendation and for the reasons laid out in the defendants’ motion to dismiss concerning the two
claims asserted by Anibowei (causes of action one and two).


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 2
   Case 3:16-cv-03495-D Document 20 Filed 12/29/17                   Page 9 of 32 PageID 285


Recommendation fails to address the defendants’ principal arguments for a dismissal

under Rule 12(b)(6). Instead, as noted above, the Recommendation states in a footnote

that the recommended dismissal of any assumed Bivens claims against the defendants in

their individual capacities makes it unnecessary to address the defendants’ Rule 12(b)(6)

arguments. But this is incorrect. Anibowei asserts that he is suing the defendants in their

official capacities only, and he seeks declaratory and injunctive relief against them under

a theory that the cell-phone search was unconstitutional. And the defendants moved to

dismiss these claims. Therefore, regardless of what was said in the Recommendation

about any assumed Bivens claims against the defendants in their individual capacities, it

was still necessary to address the defendants’ argument that Anibowei failed to allege any

Fourth or First Amendment violation, in order to determine whether Anibowei has stated

any claim against the defendants in their official capacities. As discussed in the

defendants’ motion and also herein, Anibowei has not stated any Fourth or First

Amendment claim, and therefore dismissal on this ground is appropriate.

       In addition, even if the case is not dismissed as to all defendants, the five

defendants whose agencies are not alleged to have had any involvement in the search

should be dismissed from the case with respect to all claims.

       For these reasons, and as discussed in more detail below, the defendants

respectfully request that the Court decline to adopt the Recommendation’s conclusion

that Anibowei has standing and instead dismiss for lack of standing. Alternately, the

Court should dismiss all claims against all defendants under Rule 12(b)(6) on the basis of

the failure-to-state-a-claim arguments that the Recommendation did not address, or, in

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 3
     Case 3:16-cv-03495-D Document 20 Filed 12/29/17                   Page 10 of 32 PageID 286


the further alternative, the Court should dismiss all claims against the five defendants

whose agencies are not alleged to have had any involvement in the search.

                                        II.       Background3

A.        The government’s longstanding authority to conduct border searches.

          The Government’s plenary authority to conduct searches and inspections of

persons and things crossing our nation’s borders is well-established and extensive;

control of the border is a fundamental attribute of sovereignty. Accordingly, the Supreme

Court has made clear that searches of persons or property at the border are not subject to

any requirement of reasonable suspicion, subject only to very narrow exceptions for

highly intrusive searches of a person’s body or destructive searches of property, neither

of which is at issue here. “[T]he United States, as sovereign, has the inherent authority to

protect, and a paramount interest in protecting, its territorial integrity.” United States v.

Flores-Montano, 541 U.S. 149, 153 (2004). “Time and again, we have stated that

‘searches made at the border, pursuant to the longstanding right of the sovereign to

protect itself by stopping and examining persons and property crossing into this country,

are reasonable simply by virtue of the fact that they occur at the border.’” Id. at 152–53

(quoting United States v. Ramsey, 431 U.S. 606, 616 (1977)).

B.        Anibowei’s allegations and request for declaratory and injunctive relief.

          Anibowei is a U.S. citizen who lives in the Dallas area. (Doc. 8, ¶¶ 6, 25.) On

October 10, 2016, Anibowei returned from a trip to Canada on a flight that landed at


3
    Facts from Anibowei’s pleadings are assumed true for purposes of the motion to dismiss only.


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 4
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 11 of 32 PageID 287


Dallas/Fort Worth International Airport. (Doc. 8, ¶ 31.) Upon exiting the plane,

Anibowei was met by Department of Homeland Security (DHS) officers and questioned

about various matters, including the purpose of his trip to Canada. (Doc. 8, ¶¶ 34–35.)

At this time, Anibowei’s cell phone was briefly “detained for ‘examination and copying’”

and then returned to him. (Doc. 8, ¶ 35.)

       Anibowei states that his cell phone contained “private and sensitive materials” that

he did not intend for others to view without his consent, and that the government did not

have “reasonable suspicion to believe that [Anibowei’s] device[] contained any material

constituting a violation [of] any law respecting customs, immigration, or terrorism.”

(Doc. 8, ¶¶ 44, 46.) He also alleges on information and belief that electronic information

from his cell phone may have been disclosed to other government agencies after the

search. (Doc. 8, ¶ 43.) In addition to the October 10, 2016 inspection, Anibowei states

that he has been selected for “secondary inspection” on various instances during the

course of international travel, and that on one other occasion a customs officer scrolled

through messages on Anibowei’s cell phone, but apparently without copying anything

from the phone. (Doc. 8, ¶¶ 25, 38.)

       Based on the foregoing, the first amended complaint asserts that the government’s

actions in inspecting Anibowei’s cell phone violated the Fourth Amendment (first cause

of action) and the First Amendment (second cause of action). (Doc. 8, ¶¶ 47–48.) In

terms of substantive relief, the first amended complaint’s prayer requests: (1) a

declaration that the detention and seizure of Anibowei’s cell phone and the review,

copying, retention, and dissemination of its contents without reasonable suspicion

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 5
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                     Page 12 of 32 PageID 288


violates the Fourth and First Amendments, and (2) injunctions requiring the government

to return any information retained from Anibowei’s cell phone and to give details about

whether or how any information was disseminated to other agencies.4 (Doc. 8, prayer.)

C.      The defendants’ motion to dismiss the first amended complaint.

        Anibowei’s first amended complaint names as defendants eight government

officials, each in his or her official capacity as the head of a federal department or

agency. These are the DHS Secretary and the heads of U.S. Customs and Border

Protection (CBP), U.S. Immigration and Customs Enforcement (ICE), and the

Transportation Security Administration (TSA) (which are DHS components); the

Attorney General and the heads of the Federal Bureau of Investigation (FBI) and

Terrorist Screening Center (which is an FBI component); and the head of the National

Counterterrorism Center (which is a component of the Office of the Director of National

Intelligence). (See Doc. 8, ¶¶ 7–14.)

        All defendants moved to dismiss the first amended complaint on two grounds

(each applicable to all eight defendants):

                First, for lack of standing, because the fact that Anibowei was
                exposed to allegedly illegal conduct in the past is not

4
  The first amended complaint’s “jurisdiction and venue” section also makes cursory references to Bivens
and 28 U.S.C. §§ 1343(a)(4) and 1357, (see Doc. 8, ¶¶ 1–3), but the defendants have never understood
these references to be attempting to state any additional claims against the defendants, apart from the two
claims that are enumerated in paragraphs 47 and 48 as causes of action one and two. A Bivens claim is
only available against a government official in a individual capacity, but Anibowei makes clear that he is
suing the defendants in their official capacities only and he does not request damages in the prayer, so the
defendants have never understood him to be asserting any Bivens claims. (See Doc. 8, Caption, ¶¶ 8–14,
& prayer.) Section 1343(a)(4) creates jurisdiction for suits brought under any “Act of Congress providing
for the protection of civil rights, including the right to vote,” but Anibowei does not identify any such Act
of Congress he is attempting to sue under. And section 1357 concerns jurisdiction for suits arising from
actions to collect government revenues or enforce voting rights, neither of which applies here.


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 6
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 13 of 32 PageID 289


                sufficient to entitle him to seek declaratory or injunctive relief
                in federal court absent some showing that the allegedly illegal
                act will be repeated against him in the future; and

                Second, for failure to state a claim upon which relief can be
                granted, because the Fourth Amendment does not require any
                showing of reasonable suspicion before an electronic device
                can be searched at the border, nor is any First Amendment
                violation otherwise shown by the facts alleged by Anibowei.

(Doc. 13 at 7–18.) In addition, five of the defendants requested dismissal on the alternate

ground that no claim had been stated against them, specifically, because Anibowei had

not pleaded any facts showing involvement by these defendants’ agencies in the matters

at issue in the first amended complaint.5 These defendants are the Attorney General and

the heads of the TSA, FBI, FBI Terrorist Screening Center, and National

Counterterrorism Center. (Doc. 13 at 19.)

        On referral from the District Judge, (see Doc. 14 (Order of Reference)), the

Magistrate Judge issued the Recommendation on December 15, 2017, (Doc. 19). The

Recommendation first addressed the defendants’ request that the case be dismissed for

lack of standing (both constitutional and prudential standing), and reasoned that standing

was no obstacle to Anibowei’s suit because, in the Recommendation’s view, a decision in

his favor could compel the government to return or destroy any remaining copies of the

data from his cell phone. (Doc. 19 at 7–9, 11–12.)



5
 Suits against government officers in their official capacities (which is how Anibowei purported to sue all
eight defendants) are considered suits against the government itself. See Mauro v. Freeland, 735 F. Supp.
2d 607, 616 (S.D. Tex. 2009) (citing Kentucky v. Graham, 473 U.S. 159 (1985)). Accordingly, the five
defendants argued that Anibowei’s allegations showed no involvement by any officers from their
agencies, not just any involvement by the agency heads themselves. (See Doc. 13 at 19–20.)


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 7
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 14 of 32 PageID 290


       Next, the Recommendation explained that “Defendants also assert that all of

Plaintiff’s claims against them are subject to dismissal because he ‘has failed to plead any

specific facts showing involvement by any government officers from these agencies in

any of the alleged wrongdoing made the basis of the suit.’” (Doc. 19 at 12 (quoting Doc.

13 at 24 (referring to the CM/ECF system page number at the top of the page)).) The

portion of the motion to dismiss cited by the Recommendation for this statement was the

portion in which five defendants (the Attorney General and the heads of the FBI, FBI

Terrorist Screening Center, TSA, and National Counterterrorism Center) had moved to

dismiss the claims against them on the ground that Anibowei had not pleaded any facts

showing involvement by these defendants’ agencies. (See Doc. 13 at 19–21.) However,

instead of analyzing this argument with respect to the five defendants who made it, the

Recommendation instead proceeded as if it had been made by all eight defendants, but

only with respect to any assumed Bivens claims (i.e., “[t]o the extent that Plaintiff’s pro

se complaint may be liberally construed as asserting claims against Defendants (or their

predecessors) in their individual capacities”). (Doc. 19 at 13.) Having thus reframed the

issue, the Recommendation concluded that Anibowei had failed to state any claim for

Bivens relief against all eight named defendants, and therefore recommended partially

granting the defendants’ Rule 12(b)(6) motion so as to dismiss any Bivens claims, i.e.,

any claims against the defendants in their individual capacities. (Doc. 19 at 13, 15.)

       Critically, though, the Recommendation appears not to have addressed whether

Anibowei’s allegations suffice to state any claim for relief under the Fourth or First

Amendment against the defendants in their official capacities (i.e., for equitable relief).

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 8
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 15 of 32 PageID 291


Instead, at the conclusion of its discussion of any assumed Bivens claims, the

Recommendation stated in a footnote that “[b]ecause Plaintiff has failed to state a claim

against Defendants under Bivens based on a lack of personal involvement, the Court need

not reach Defendants’ arguments that Plaintiff has failed to state a claim that the border

search of his cell phone violated his First and Fourth Amendment rights.” (Doc. 19 at 13

n.9.) On the basis of this footnote, the Recommendation appears to have left unaddressed

the defendants’ principal Rule 12(b)(6) arguments, i.e., the arguments that the Fourth

Amendment does not require reasonable suspicion for the search alleged by Anibowei

and that no First Amendment violation was shown under the facts alleged, either. The

Recommendation thus seems not to have made any findings or recommendation about

whether the “claims for equitable relief” for which the Recommendation conducted a

standing analysis (Doc. 19 at 12) should survive the defendants’ Rule 12(b)(6) argument

that no Fourth and First Amendment claims were stated.

                                   III.      Legal Standards

       Under Fed. R. Civ. P. 72(b)(3), this Court reviews de novo any objections to the

Magistrate Judge’s recommendation on a dispositive motion. (See also Doc. 13 at 6–7

(discussing the relevant standards under Rule 12(b)(1) and (6)).)

                             IV.       Argument and Authorities

       For the reasons discussed below, the Court should decline to adopt the

Recommendation’s standing analysis and should instead dismiss the first amended

complaint for lack of standing, or, alternately, for failure to state a claim under Rule

12(b)(6) based upon the defendants’ arguments that the Recommendation did not

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 9
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 16 of 32 PageID 292


consider; or in the further alternative, at least the five defendants whose agencies are not

alleged to have had any involvement in the search should be dismissed from the case.

A.     The Court should decline to adopt the Recommendation’s standing analysis,
       and instead should rule that Anibowei has not established standing to obtain
       the purely equitable relief he seeks.

       The “irreducible constitutional minimum” of standing requires a plaintiff to show

(1) a concrete and particularized injury in fact that is actual or imminent, not conjectural

or hypothetical; (2) a causal connection between the injury and the defendant’s conduct;

and (3) that the injury will likely be redressed by a favorable decision. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). And “[b]eyond the constitutional

requirements, the federal judiciary has also adhered to a set of prudential principles that

bear on the question of standing.” Valley Forge Christian College v. Americans United

for Separation of Church & State, Inc., 454 U.S. 464, 474 (1982). The standing inquiry

is “especially rigorous when reaching the merits of the dispute would force [a court] to

decide whether an action taken by one of the other two branches of the Federal

Government was unconstitutional.” Raines v. Byrd, 521 U.S. 811, 819–20 (1997).

       1.      Anibowei’s vague averments of possible future injury do not establish
               any real and immediate threat of repeated injury in the future.

       Here, Anibowei seeks equitable relief—a declaratory judgment and preliminary

and permanent injunctions—under a premise that the government violated the Fourth and

First Amendments by searching and copying information from his cell phone at the

border. (See Doc. 8, ¶¶ 47–48 & prayer.) However, even assuming some constitutional

violation did occur, “[p]ast exposure to illegal conduct does not in itself show a present


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 10
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 17 of 32 PageID 293


case or controversy.” Bauer v. Texas, 341 F.3d 352, 358 (5th Cir. 2003) (internal

quotation marks and citation omitted). Instead, to obtain declaratory or injunctive relief

based on an alleged past wrong, “a plaintiff must demonstrate either continuing harm or a

real and immediate threat of repeated injury in the future.” Id. (citation omitted).

       For example, in City of Los Angeles v. Lyons, 461 U.S. 95, 98 (1983), the Supreme

Court considered whether a plaintiff who had been subjected to a chokehold by police

had standing to seek equitable relief in the form of (i) a declaration that the use of such

chokeholds violated the Constitution and (ii) an injunction against their future use. The

Court explained that the plaintiff would have standing only if he could show that he

“would again be stopped for a traffic or other violation in the reasonably near future” and

“that strangleholds are applied by the Los Angeles police to every citizen who is stopped

or arrested regardless of the conduct of the person stopped.” Id. at 108. Noting that the

plaintiff did not claim to have been subjected to a chokehold on any other occasion, the

Court found that the “odds” of a repeat occurrence of the allegedly illegal conduct were

not “sufficient to make out a federal case for equitable relief.” Id.

       The same is true with respect to Anibowei’s suit challenging the allegedly

unconstitutional actions of the government in inspecting his cell phone. Anibowei’s first

amended complaint details that he has traveled internationally on numerous occasions

and has had many encounters with government officers when being processed through

customs. (See Doc. 8, ¶¶ 22–25.) Nonetheless, Anibowei alleges that his cell phone was

“detained for ‘examination and copying’” on only a single occasion, and that on only one

other occasion did a government officer even make any examination of the phone. (See

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 11
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 18 of 32 PageID 294


Doc. 8, ¶¶ 31–40.) Accordingly, Anibowei’s allegations are not “sufficient to make out a

federal case for equitable relief” because they do not establish a likelihood that

Anibowei’s cell phone will be similarly searched again in the future. Lyons, 461 U.S. at

108; see also Bauer, 341 F.3d at 358.

       Indeed, a similarly situated plaintiff—whose electronic devices were actually

subject to a much more intrusive seizure and detention for inspection—was found to lack

standing to challenge the government’s border-search authority in civil litigation in

Abidor v. Napolitano, 990 F. Supp. 2d 260 (E.D.N.Y. 2013). In that case, the plaintiff

Abidor had his cell phones and other electronic devices seized when returning to the

United States from abroad, with some devices kept for eleven days and only later

returned to him by mail. Id. at 267–68. Abidor sued various government officials

seeking purely equitable relief, including a declaration that his rights had been violated

and an injunction against copying the information from his devices and for the

expungement of the information from the government’s possession. Id. at 264, 275.

       In dismissing Abidor’s claims for lack of standing, the court employed reasoning

that is equally applicable to Anibowei’s claims. The court took judicial notice of the fact

that “there is less than a one in a million chance that a computer carried by an inbound

international traveler will be detained” at customs when a traveler is entering the United

States. Id. at 271; see also United States v. Ickes, 393 F.3d 501, 506–07 (4th Cir. 2005)

(rejecting as “far-fetched” the suggestion that “any person carrying a laptop computer . . .

on an international flight would be subject to a search of the files on the computer hard

drive[,]” because “[c]ustoms agents have neither the time nor the resources to search the

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 12
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 19 of 32 PageID 295


contents of every computer”). Given these low odds of a future search occurring, there

was at most only an “alleged injury based on speculation as to conduct which may or may

not occur at some unspecified future date,” which was insufficient to support an action in

federal court. Abidor, 990 F. Supp. 2d at 272. For all the same reasons that the similarly

situated plaintiff lacked standing in the Abidor case, Anibowei lacks standing in this case

in which he seeks essentially the same type of equitable relief.

       2.      A claimed injury from the retention of information does not provide
               standing.

       The Recommendation suggests that Anibowei has incurred an injury based on the

copying and retaining of information from his cell phone, but any such alleged injury still

fails to establish standing in the context of this civil suit. The redressability component

of standing mandates that the plaintiff must show that a favorable resolution of his claim

would likely redress the professed injury. Defenders of Wildlife, 504 U.S. at 560–61.

Here, though, it cannot be shown that a resolution in Anibowei’s favor would result in the

government’s being required to return or “expunge” all information gathered from his

cell phone. This is because, even assuming that copying information from a cell phone at

the border did violate the Fourth Amendment, the government’s use of “evidence

obtained in violation of the Fourth Amendment does not itself violate the Constitution.”

Pa. Bd. of Prob. & Parole v. Scott, 524 U.S. 357, 362 (1998). While there is an

exclusionary rule (derived from prudential principles) that sometimes may preclude the

government from using seized evidence in a particular proceeding, there is no such rule

that applies to all such proceedings or persons. See id. For example, even if a court finds


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 13
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                  Page 20 of 32 PageID 296


that evidence was seized in violation of the Fourth Amendment and thus suppresses the

evidence in a criminal prosecution, that does not mean the government cannot use the

evidence in other proceedings where the exclusionary rule does not apply, such as in

certain civil or grand-jury proceedings. See id. at 363–64. It necessarily follows that

even showing a constitutional violation in connection with the search or seizure of some

material would not entitle a plaintiff like Anibowei to have all records of the seized

evidence obliterated or expunged from the government’s possession, and Anibowei has

not alleged that retaining information from his cell phone would constitute a

constitutional violation.6 See also Herring v. United States, 555 U.S. 135, 141–42 (2009)

(“We have repeatedly rejected the argument that exclusion is a necessary consequence of

a Fourth Amendment violation.”). Thus, no standing can be established on this basis.

        3.      Prudential reasons also support a dismissal for lack of standing.

        Moreover, even if it were assumed that Anibowei could establish Article III

standing, dismissal would still be warranted for closely related prudential reasons. “A

declaratory judgment, like other forms of equitable relief, should be granted only as a

matter of judicial discretion, exercised in the public interest. It is always the duty of a

court of equity to strike a proper balance between the needs of the plaintiff and the

consequences of giving the desired relief.” Eccles v. Peoples Bank of Lakewood Vill.,

333 U.S. 426, 431 (1948) (citations omitted). Thus, “[e]specially where governmental



6
  Anibowei’s standing argument in his response to the defendants’ motion focused on likely future border
searches, and not on establishing standing on the basis of any alleged entitlement to having information
from a past search destroyed or returned. (See Doc. 17 at 7–9.)


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 14
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 21 of 32 PageID 297


action is involved, courts should not intervene unless the need for equitable relief is clear,

not remote or speculative.” Id.; see also Abidor, 990 F. Supp. 2d at 274 (“‘The Supreme

Court has frequently, although not invariably, indicated a marked reluctance to have

important issues of public law resolved by declaratory judgments.’” (quoting 10B Charles

Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice & Procedure § 2762

(3d ed. 1998))).

       Anibowei essentially seeks a judgment from this Court that the Constitution

requires the government to have reasonable suspicion before undertaking the search of an

electronic device at the border. (See Doc. 8, ¶¶ 47–48 & prayer.) However, as discussed

in more detail below, neither the Supreme Court nor the Fifth Circuit has ever recognized

such a requirement. Anibowei therefore cannot show a “clear” need for the relief he

seeks, Eccles, 333 U.S. at 431, and indeed the type of judgment he seeks would represent

a marked departure from the longstanding principles that the government’s border-search

authority is broad and that border searches are reasonable simply by virtue of the fact that

they occur at the border. Furthermore, while it is conceivable that in some instances it

might become absolutely necessary and unavoidable for a court to address the legality of

an electronic border search (such as in a criminal prosecution where the defendant’s

freedom may hinge on whether evidence from a border search of an electronic device is

admitted into evidence or instead suppressed), Anibowei’s civil suit does not present such

a case. See Abidor, 990 F. Supp. 2d at 272 (contrasting civil and criminal cases).

       In addition, declining to exercise discretionary equitable jurisdiction over a suit

like Anibowei’s has the added benefit of affording Congress and the relevant Executive

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 15
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                   Page 22 of 32 PageID 298


Branch agencies the first opportunity to “respond to any abuses that should develop as a

consequence” of government policies providing for border searches of electronic

devices.7 Id. at 274. As the CBP and ICE border-search policies cited in the first

amended complaint make clear, the government is “sensitive to the privacy and

confidentiality issues posed by border searches of electronic devices,” and has made

“efforts to cabin the nature and extent of such searches” while also putting in place

“significant precautionary measures” to protect sensitive information. Id. Congress is

likewise aware that electronic devices are subject to being searched at the border, but has

not seen fit to withdraw or modify the broad search authority that it has consistently

granted to government officers at the border for well over 200 years (including at the

time the Fourth Amendment was adopted). See id. As the Abidor court noted, these

factors counsel against entertaining this kind of civil suit. Id.

        4.      The Recommendation’s reliance on Janfeshan is misplaced.

        Finally, the Janfeshan case cited in the Recommendation does not establish that

Anibowei has standing here. See Janfeshan v. U.S. Customs & Border Protection, No.

16-CV-6915, 2017 WL 3972461 (E.D.N.Y. Aug. 21, 2017). Janfeshan distinguished the

Abidor decision by relying on a separate case, American Civil Liberties Union v. Clapper,

785 F.3d 787 (2d Cir. 2015). See Janfeshan, 2017 WL 3972461, at *6–7. But Clapper



7
  The August 2009 CBP and ICE guidance and standard operating procedures for searching, reviewing,
retaining, and sharing information contained in electronic devices subject to border search authority are
comprehensive and have been publicly available since August 2009. They can be accessed at
https://www.dhs.gov/xlibrary/assets/ice_border_search_electronic_devices.pdf and https://www.dhs.gov/
xlibrary/assets/cbp_directive_3340-049.pdf


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 16
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 23 of 32 PageID 299


did not say anything about what a plaintiff must do to establish standing to contest a

border search in a civil suit; instead, the case involved a challenge to domestic searches

(the collection of telephone metadata for phone calls with at least one caller in the United

States). See Clapper, 785 F.3d at 795–96. In addition, the rationale of Janfeshan, to the

effect that a request to have information expunged from the government’s possession

suffices to establish standing, is not consistent with the principle, discussed above (see

pp. 13–14, supra), that the exclusionary rule does not apply in all settings.

       The defendants respectfully submit that the standing analysis in Abidor, not

Janfeshan, is the correct one and should be followed in this case. Indeed, Abidor

involved a plaintiff who (like Anibowei) was seeking expungement of materials collected

at a border search, but was nonetheless was found to lack standing. See Abidor, 990 F.

Supp. 2d at 275. The same result should obtain here.

B.     If the case is not dismissed for lack of standing, it is necessary to reach the
       Rule 12(b)(6) arguments that the Recommendation identified in footnote 9
       but did not address, and the Court should dismiss the first amended
       complaint as to all defendants on the basis of these arguments.

       As discussed above (see pp. 7–9, supra), the Recommendation did not address the

portion of the defendants’ Rule 12(b)(6) motion that argued that Anibowei failed to state

any claim of a Fourth or First Amendment violation. These arguments were raised in the

defendants’ motion and are applicable to Anibowei’s claims against the defendants in

their official capacities. (See Doc. 13 at 13–19.) Accordingly, these arguments should

have been addressed and, as discussed below, their consideration should result in a

dismissal of all claims asserted by Anibowei, under Rule 12(b)(6).


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 17
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 24 of 32 PageID 300


       1.      Anibowei fails to state any claim for relief under the Fourth
               Amendment (first cause of action) because reasonable suspicion was
               not required in order to inspect Anibowei’s cell phone at the border.

       With respect to Anibowei’s first cause of action, the first amended complaint’s

allegations that the government’s search and seizure of information from his cell phone at

the border violated the Fourth Amendment fail to state any claim for relief. The Fourth

Amendment requires only “that searches and seizures be reasonable.” United States v.

Montoya de Hernandez, 473 U.S. 531, 537 (1985). According to Anibowei, the

government’s actions were unreasonable because the government allegedly lacked

reasonable suspicion to believe that his cell phone contained evidence of any crime

respecting customs, immigration, or terrorism. (See Doc. 8, ¶¶ 46–47.)

       But “the Fourth Amendment’s balance of reasonableness is qualitatively different

at the international border than in the interior.” Montoya de Hernandez, 473 U.S. at 538.

“[T]he United States, as sovereign, has the inherent authority to protect, and a paramount

interest in protecting, its territorial integrity.” Flores-Montano, 541 U.S. at 153. Indeed,

the Supreme Court has stressed that “[t]he Government’s interest in preventing the entry

of unwanted persons and effects is at its zenith at the international border.” Id. at 152.

For this reason, it has long been acknowledged that “‘searches made at the border,

pursuant to the longstanding right of the sovereign to protect itself by stopping and

examining persons and property crossing into this country, are reasonable simply by

virtue of the fact that they occur at the border.’” Id. at 152–53 (quoting Ramsey, 431 U.S.

at 616). Indeed, the border-search doctrine, which permits suspicionless searches of

those persons and things crossing the border, has a history as old as the Fourth

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 18
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 25 of 32 PageID 301


Amendment itself, see id. at 153 (citing a statute authorizing border searches passed by

the First Congress, and explaining that the government’s authority to conduct warrantless

searches at the border has an “impressive historical pedigree”), and its broad nature is

also enshrined in numerous statutes, see, e.g., 6 U.S.C. § 211; 8 U.S.C. §§ 1225, 1357; 19

U.S.C. §§ 482, 507, 1461, 1496, 1581, 1582, 1589a, 1595a; see also 19 C.F.R. § 162.6

(allowing for the inspection and search of “[a]ll persons, baggage, and merchandise

arriving in the Customs territory of the United States from places outside thereof”).

       As the Supreme Court has held, “[r]outine searches of the persons and effects of

entrants [into the United States] are not subject to any requirement of reasonable

suspicion, probable cause, or warrant.” Montoya de Hernandez, 473 U.S. at 538. The

only exception the Court has suggested exists is for a narrow category of personal

searches—“such as strip, body-cavity, or involuntary x-ray searches”—for which

reasonable suspicion may be required. Flores-Montano, 541 U.S. at 152 (quoting

Montoya de Hernandez, 473 U.S. at 541 n.4); see also United States v. Sandler, 644 F.2d

1163, 1167–68 (5th Cir. 1981) (explaining that while reasonable suspicion may be

required for strip searches or body-cavity searches at the border, it is not required for less

intrusive personal searches such as patdowns or frisks).

       Anibowei has not alleged that he was subjected to any such search, and, notably,

the Supreme Court has rejected the attempt to extend the reasonable-suspicion

requirement beyond the category of “highly intrusive searches of the person.” Flores-

Montano, 541 U.S. at 152. In Flores-Montano, customs officers removed and dismantled

the gas tank of a car entering the country, leading to the discovery of narcotics inside. Id.

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 19
    Case 3:16-cv-03495-D Document 20 Filed 12/29/17                       Page 26 of 32 PageID 302


at 150–51. Reversing a decision of the Ninth Circuit, which had held that such a search

required reasonable suspicion under a theory that it went beyond a “routine” search, the

Supreme Court explained that “[c]omplex balancing tests to determine what is a ‘routine’

search of a vehicle, as opposed to a more ‘intrusive’ search of a person, have no place in

border searches of vehicles.” Id. at 152.

        Accordingly, when the thing searched at the border is property (rather than a

person), no balancing must be done to determine whether the search was “routine” or

instead required reasonable suspicion, as would be the case with a strip search or body-

cavity search. See United States v. McCauley, 563 F. Supp. 2d 672, 677 (W.D. Tex.

2008) (“Relying on the Supreme Court’s reasoning in Flores-Montano, this Court cannot

equate the search of a computer with the search of a person. The Court finds that the

search of a computer is more analogous to the search of a vehicle and/or its contents.”),

aff’d, 420 F. App’x 400 (5th Cir. 2011)8; United States v. Thompson, 53 F. Supp. 3d 919,

920–21, 923 (W.D. La. 2014) (holding that no reasonable suspicion was required when

DHS agents “performed data extractions on both a Nokia cell phone and an iPhone seized

from [the defendant], completely downloading and copying their contents, including all

personal information,” because the search had occurred at an international border).

        In both McCauley and Thompson, district courts within the Fifth Circuit rejected


8
  In the appeal in the McCauley case, the Fifth Circuit suggested that it agreed with the district court that
reasonable suspicion is not required for searches of electronic devices at the border, but ultimately
determined that it “need not decide whether the search was constitutionally permissible as a routine
search under the border-search doctrine,” because it could affirm the district court’s decision (denying a
motion to suppress) on the alternate ground that the defendant had given consent for the search. See
McCauley, 420 F. App’x at 401.


Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 20
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 27 of 32 PageID 303


the argument that the Fourth Amendment requires reasonable suspicion before an

electronic device may be searched (or detained, or copied) at the border. See McCauley,

563 F. Supp. 2d at 676–79; Thompson, 53 F. Supp. 3d at 920–23. And the Fifth Circuit

has approved generally of the warrantless search of electronic devices at the border. See

United States v. Pickett, 598 F.3d 231, 233–35 (5th Cir. 2010) (rejecting the argument

that a warrant was required for ICE agents to search a person’s thumb drives, portable

hard drive, and laptop memory card at the border). The same reasoning employed in

McCauley, Thompson, and Pickett dictates that Anibowei has failed to allege a viable

Fourth Amendment claim in this case. Under the border-search doctrine, the search of an

electronic device at the border is reasonable—and therefore does not offend the

Constitution—by virtue of the fact that it occurs at the border.

       Indeed, as noted above, both the Supreme Court and the Fifth Circuit have

consistently refused to expand any requirement of reasonable suspicion for border

searches beyond the most intrusive searches of a person’s body. See Flores-Montano,

541 U.S. at 152–53 (holding that reasonable suspicion was not required to remove and

dismantle a gas tank at the border); United States v. Kelly, 302 F.3d 291, 294 (5th Cir.

2002) (explaining that non-routine searches requiring reasonable suspicion “include body

cavity searches, strip searches, and x-rays,” but that a “canine sniff” that made contact

with the person’s “groin area” did not require reasonable suspicion); Sandler, 644 F.2d at

1167–69 (declining to require reasonable suspicion for patdowns or frisks that fall short

of a strip search). Because Anibowei does not allege that he was subjected to any such

highly intrusive search of his person, there is no basis for his claim that the Fourth

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 21
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 28 of 32 PageID 304


Amendment was violated due to an alleged lack of reasonable suspicion to support any

search (or copying, or dissemination) of information from his phone.

       2.      Anibowei fails to state any claim for relief under the First Amendment
               (second cause of action) because there is no First Amendment
               exception to the border-search doctrine.

       Anibowei fares no better with his second cause of action, because his allegations

fail to show any violation of the First Amendment. The basis for Anibowei’s First

Amendment claim is a contention that his cell phone contained private, sensitive, or

confidential materials. (Doc. 8, ¶¶ 44–45.) However, the Supreme Court has never

recognized an exception to the border-search doctrine based on the First Amendment

status of the material being searched, and in New York v. P.J. Video, Inc., 475 U.S. 868,

874 (1986), it rejected an analogous argument that would have required a higher standard

of probable cause for warrant applications when expressive material is involved. The

Court instead explained that the seizure of such materials “should be evaluated under the

same standard of probable cause used to review warrant applications generally.” Id. at

875. Since under P.J. Video it is clear that the First Amendment does not justify any

exception to the usual standards of reasonableness for a non-border search, it likewise

would follow that the First Amendment does not change the rules for a border search.

       Indeed, in United States v. Ickes, 393 F.3d 501, 506 (4th Cir. 2005), the Fourth

Circuit squarely rejected an attempt to “carve out a First Amendment exception to the

border search doctrine” for searches of electronic devices at the border. In addition to

noting that Supreme Court precedent did not support an exception, the court explained

that adopting such a rule would create “significant headaches” as government officers

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 22
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 29 of 32 PageID 305


would be faced with making difficult on-the-spot determinations about the First

Amendment value of materials crossing the border. Id. at 506. Because “[t]hese sorts of

legal wrangles at the border are exactly what the Supreme Court wished to avoid by

sanctioning expansive border searches,” the claim of First Amendment protection was

rejected. Id. For the same reasons, Anibowei’s allegations of a First Amendment

violation fail to state any claim for relief.

C.     The five defendants whose agencies are not alleged to have had any
       involvement in the search of Anibowei’s cell phone should be dismissed from
       the case in its entirety (including with respect to official-capacity claims).

       The Recommendation did not squarely address the argument made by the

Attorney General and the heads of the TSA, FBI, FBI Terrorist Screening Center, and

National Counterterrorism Center that all claims against these defendants should be

dismissed due to Anibowei’s failure to plead any specific facts showing involvement by

any government officers from these defendants’ agencies in the alleged wrongdoing. As

discussed above, the Recommendation instead considered only whether any assumed

Bivens claims against all defendants should be dismissed due to a lack of personal

involvement by the named defendants. This would appear to still leave pending any

claims against the Attorney General and the heads of the TSA, FBI, FBI Terrorist

Screening Center, and National Counterterrorism Center in their official capacities,

despite the lack of any allegation showing involvement by these agencies in the matters at

issue in Anibowei’s suit. Because the first amended complaint sets forth no non-

speculative facts showing any wrongdoing by these defendants or their agencies, all

claims (of whatever nature) against these defendants should be dismissed.

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 23
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 30 of 32 PageID 306


       Anibowei first attempts to link some of these defendants to the case by stating that

the National Counterterrorism Center and the FBI are “the two government entities that

are primarily responsible for ‘nominating’ individuals for inclusion in the terrorist watch

list,” and that “certain passenger complaints [about border screening procedures] . . .

actually have some connection to the Terrorist Watch list.” (Doc. 8, ¶ 30.) The factual

support offered for this latter statement is a June 30, 2016 letter Anibowei received after

he made an inquiry to the DHS Traveler Redress Inquiry Program (TRIP). (See Doc. 8,

¶ 30; see also Doc. 8-4 (copy of the June 30, 2016 letter).) But the only reference to any

connection to the terrorist watchlist in the June 30, 2016 letter is the statement that “less

than 1% of the DHS TRIP complainants actually have some connection to the Terrorist

Watchlist.” (Doc. 8-4.) Accordingly, by stating that the vast majority of traveler redress

requests received by DHS have no connection to the terrorist watchlist, the June 30, 2016

letter does not establish any link between the FBI, National Counterterrorism Center, and

any terrorist watchlist, on the one hand, and the events at issue in this case, on the other.

       Additionally, Anibowei’s suggestion that he may have been subjected to

heightened searching or inspection at the border (i.e., by CBP/ICE) because of

information provided by other defendants who do not have a border-search function, but

who instead administer or have responsibility for terrorist screening or watchlists, is no

more than speculation. (See Doc. 8, ¶ 30.) And the same is true of Anibowei’s assertion

that these other defendants may have received information developed during some border

search or inspection that Anibowei previously underwent—again, this is merely

speculation. (Doc. 8, ¶ 30.) Indeed, Anibowei provides no basis whatsoever for these

Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 24
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 31 of 32 PageID 307


assertions beyond stating the responsibilities and missions of the government agencies

themselves, which is not sufficient to raise a plausible claim for relief against these

defendants. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007).

       In sum, even assuming Anibowei has standing with respect to his border-search

claims, he does not have standing to pursue claims against the Attorney General and the

heads of the TSA, FBI, FBI Terrorist Screening Center, and National Counterterrorism

Center because he has not identified any injury allegedly caused by those agencies. See

Defenders of Wildlife, 504 U.S. at 560. He also fails to state a claim against these five

defendants because he has not pleaded facts showing that they had any involvement in

the alleged Fourth and First Amendment violations so as to give rise to any plausible

claim for relief against them. See Escamilla v. City of Dallas, No. 3:03-CV-848-K, 2004

WL 1932867, at *5 (N.D. Tex. Aug. 30, 2004) (in a multi-defendant suit, dismissing

claims against the City of Dallas under Rule 12(b)(6) because the plaintiff had “not

pleaded any involvement of the City” in the alleged wrongdoing).

                                       V.       Conclusion

       The Court should decline to accept the Recommendation’s standing analysis and

instead dismiss for lack of standing. Alternately, the Court should reach the Rule

12(b)(6) arguments not addressed in the Recommendation and dismiss the first amended

complaint in its entirety as to all defendants, or in the further alternative, dismiss the five

defendants whose agencies are not alleged to have had any involvement in the search.




Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 25
  Case 3:16-cv-03495-D Document 20 Filed 12/29/17                    Page 32 of 32 PageID 308


                                                       Respectfully submitted,

                                                       ERIN NEALY COX
                                                       United States Attorney

                                                       /s/ Brian W. Stoltz
                                                       Brian W. Stoltz
                                                       Assistant United States Attorney
                                                       Texas Bar No. 24060668
                                                       1100 Commerce Street, Third Floor
                                                       Dallas, Texas 75242-1699
                                                       Telephone: 214-659-8626
                                                       Facsimile: 214-659-8807
                                                       brian.stoltz@usdoj.gov

                                                       Attorneys for Defendants

                                       Certificate of Service

       On December 29, 2017, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                       /s/ Brian W. Stoltz
                                                       Brian W. Stoltz
                                                       Assistant United States Attorney




Defendants’ Objections to the Magistrate Judge’s Findings, Conclusions, and Recommendation on
Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint – Page 26
